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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

  IN RE:                                                  CASE NO. 22-52950-PMB

  ATLANTA LIGHT BULBS, INC.                               CHAPTER 7
                       Debtor,
                                                          JUDGE BAISIER




                      JESSICA MARIE MENDOZA’S MOTION FOR
                      RULE 2004 EXAMINATION OF JESSE ROOT

       Jessica Marie Mendoza [“Mendoza”], by and through undersigned counsel,

  hereby files this Motion for Rule 2004 Examination of Jesse Root [“Root”], showing the

  honorable Court as follows:

                                 PROCEDURAL POSTURE

  1.   On April 15, 2022, Chapter 11 bankruptcy action 22-52950 was commenced

  through the filing of an involuntary petition filed by Debtor’s creditors [Docket 1].

  2.   On May 23, 2022, an Order for Relief was filed [Docket 21].

  3.   On May 25, 2022, Tandem Bank (the Debtor’s only secured creditor) filed a

  Motion to Dismiss the bankruptcy action [Docket 23].

  4.   On June 10, 2022, Jesse Root, a purported fifty percent (50%) shareholder of

  Debtor filed an objection to Tandem Bank’s Motion to Dismiss [Docket 41-42].

  Importantly, there is no evidence that Root is in fact a shareholder of Debtor. On or

  about October 1, 2021, Jesse Root executed a Transfer & Assignment [“Assignment”]

  assigning all ownership of his interest in the Debtor to Root Family Capital Legacy

  Trust dated December 29, 2010 [the “Trust”]. After providing the executed Assignment,

  Root later represented to Mendoza that he continued to be a shareholder of the Debtor.


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  As CEO of the Debtor, Mendoza relied on that representation, believing that the Trust

  had reconveyed the ownership interest to Root. The Assignment itself was provided

  to the Trustee’s office months ago.       As it currently stands, there are significant

  questions with respect to Root’s continuing assertion of shareholder status.

  5.      On June 13, 2022, the Court held a hearing on the Motion to Dismiss wherein the

  Court heard from Jesse Root’s counsel, as well as his expert witness William Jennings.

  After the hearing, the Court denied the Motion to Dismiss [Docket 57]. It is not clear

  what affect the Root opposition had on the Court’s decision to deny the motion, but it

  is safe to say that it was substantial. There is no evidence to suggest that Root

  apprised this Court of the Assignment.

  6.      On June 17, 2022, S. Gregory Hayes was appointed as Chapter 11 Trustee

  [Docket 66].

  7.      On July 1, 2022, the Trustee filed an emergency motion to convert the case to a

  Chapter 7 [Docket 101].

  8.      On July 7, 2022, the Court officially converted the case to a Chapter 7 [Docket

  109].

  9.      On July 7, 2022, S. Gregory Hayes was appointed as Chapter 7 Trustee [Docket

  111].

  10.     On September 2, 2022, an adversary proceeding was initiated against Mendoza

  and several additional parties in case number 22-05123 [the “Adversary Proceeding”].

  [Docket 137]. Root is not a party to the Adversary Proceeding.




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     11.   On September 22, 2022, Root filed a Motion for Rule 2004 Examination and

     Document Production of Jessica Mendoza [Docket 141].

     12.   On September 26, 2022, Root’s motion was granted [Docket 148].

     13.   On October 6, 2022, Mendoza responded to the Adversary Proceeding

     advancing several defenses [Docket 4].

     14.   Mendoza’s Answer apprised the Court of the controversy surrounding Root’s

     share ownership. This appears to be the first time the issue was brought before the

     Court by any party—despite numerous filings by both Root and the Trustee.

     15.   Although Mendoza has provided testimony on behalf of the Debtor at multiple

     341 hearings, Root has not provided any formal testimony in this bankruptcy action.

     16.   Moreover, while the Adversary Proceeding is authorized to obtain discovery from

     Mendoza in the normal course of the proceeding, the applicable bankruptcy rules do

     not provide the same for Root inasmuch as he is not a party.

     17. While the Adversary Proceeding takes direct aim at Mendoza, it curiously does

     not seek any relief from Root.1

     18.   Mendoza is the single largest creditor of the Debtor. Accordingly, it is necessary

     and proper for Mendoza to conduct a Rule 2004 examination of Root to inquire into

     various actions undertaken by Root, as well as make inquiries with respect to whether

     or not Root is in fact a shareholder of the Debtor.

     19.   Mendoza seeks to take the 2004 examination at a mutually agreeable time and

     place.




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     This issue is addressed at length in Mendoza’s Answer to the Adversary Proceeding.


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                                        BASIS FOR RELIEF

  20.   Federal Rule of Bankruptcy Procedure 2004 (“Rule 2004”) provides, in pertinent

  part, that upon motion of any party in interest, the Court may order the examination of

  any entity.

  21.   Root possesses information, not only related to the financial condition of the Debtor and

  its assets, but also critical information regarding the actual identity of the Debtor’s shareholders.

  22.   Accordingly, Mendoza respectfully requests that this Court enter an Order (i) authorizing

  a Rule 2004 examination at a mutual agreeable time and place.




         Respectfully submitted this the 25th day of October, 2022.



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                             CERTIFICATE OF SERVICE

      This is to certify that I have on this day electronically filed the foregoing pleading

   using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice of

   and an accompanying link to the pleading to the following parties who have appeared

   in this case:

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      This the 25th day of October, 2022.


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